                                                              Case 3:22-cv-00949-CRB Document 85-1 Filed 11/29/22 Page 1 of 4



                                                     1
                                                         A PROFESSIONAL CORPORATION
                                                     2
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                                                     6   FAX: 916.927.3706
                                                     7
                                                         Attorneys for Defendant
                                                     8   LAWRENCE MCVOY

                                                     9
                                                    10                                    UNITED STATES DISTRICT COURT
                                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                                    11
                                                         DAVID M. KISSNER, an individual,                 CASE NO. 22-CV-00949-VKD
                                                    12
                 350 University Avenue, Suite 200




                                                                           Plaintiff,
                                                    13
                                                                                                          AFFADAVIT OF LINDSAY A.
                     Sacramento, CA 95825
PORTER | SCOTT



                       FAX: 916.927.3706
                       TEL: 916.929.1481




                                                    14   v.                                               GOULDING IN SUPPORT OF
                                                                                                          DEFENDANT’S BILL OF COSTS
                                                    15   LOMA PRIETA JOINT UNION SCHOOL
                                                         DISTRICT, a California public agency;
                                                    16
                                                         LISA FRASER, former superintendent at            Date: January 6, 2023
                                                    17   Loma Prieta Joint Union School District, in      Time: 10:00 a.m.
                                                         her official and individual capacitites;         Ctrm: 6, 17th Floor
                                                    18   COREY KIDWELL, former superintendent             Judge: Charles R. Breyer
                                                    19   at Loma Prieta Joint School District, in her
                                                         official and individual capacities; KEVIN
                                                    20   GRIER, successor superintendent at Loma
                                                         Prieta Joint School District, in his official    Complaint Filed: 3/20/2022
                                                    21   capacity; BILLY MARTIN, principal of CT
                                                    22   English Middle School, in his official and
                                                         individual capacities; DEANA A. ARNOLD,
                                                    23   Loma Prieta Joint Union School District
                                                         trustee, in her official and individual
                                                    24   capacities; BEN ABELN, Loma Prieta Joint
                                                    25   Union School District trustee, in his official
                                                         and individual capacities; RON BOURQUE,
                                                    26   Loma Prieta Joint Union School District
                                                         trustee, in his official and individual
                                                    27   capacities; CHARLOTTE KHANDELWAL,
                                                    28   Loma Prieta Joint Union School District
                                                         trustee, in her official and individual
                                                         capacities; ERIN ASHEGHIAN, Loma
                                                         {02862386.DOCX}                             1
                                                                AFFADAVIT OF LINDSAY A. GOULDING IN SUPPORT OF DEFENDANT’S BILL OF COSTS
                                                           Case 3:22-cv-00949-CRB Document 85-1 Filed 11/29/22 Page 2 of 4



                                                     1   Prieta Joint Union School District trustee, in
                                                         her official and individual capacities;
                                                     2   PATRICIA ELLIOT, an individual; JOIE
                                                         GRIMMET, an individual; LAWRENCE
                                                     3   MCVOY, and individual, and DOES 1
                                                     4   through 50, inclusive,

                                                     5               Defendants.
                                                         ____________________________________/
                                                     6
                                                     7                               AFFADAVIT OF LINDSAY A. GOULDING
                                                     8           I, Lindsay A. Goulding, state and declare as follows:
                                                     9           1.        I am an attorney at law licensed to practice before all courts in the State of
                                                    10   California. I am a shareholder at the law firm of Porter Scott, attorneys of record for defendant
                                                    11   LAWRENCE MCVOY in the above-entitled action. In that capacity, I have personal knowledge
                                                    12   of the facts set forth below or have been sufficiently informed with respect to the information, and
                 350 University Avenue, Suite 200




                                                    13   could competently testify thereto if called upon to do so.
                     Sacramento, CA 95825
PORTER | SCOTT



                       FAX: 916.927.3706
                       TEL: 916.929.1481




                                                    14           2.        I have reviewed the Bill of Costs that accompanies my declaration and believe the
                                                    15   contents is true and accurate and that the granting of costs is warranted in this case.
                                                    16           3.        On November 28, 2022, I email plaintiff’s counsel in an attempt to meet and confer
                                                    17   regarding Defendant’s costs. See Exhibit A.
                                                    18           I declare under penalty of perjury under the laws of the United States that the foregoing is
                                                    19   true and correct and that this declaration was executed on November 29, 2022, in Sacramento,
                                                    20   California.
                                                    21                                                     L          Lindsay A. Goulding
                                                    22
                                                    23
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                                                         {02862386.DOCX}                           2
                                                              AFFADAVIT OF LINDSAY A. GOULDING IN SUPPORT OF DEFENDANT’S BILL OF COSTS
         Case 3:22-cv-00949-CRB Document 85-1 Filed 11/29/22 Page 3 of 4




                          EXHIBIT
                           “A”
01054547.WPD
                      Case 3:22-cv-00949-CRB Document 85-1 Filed 11/29/22 Page 4 of 4


Virginia Yao

From:                                      Lindsay A. Goulding
Sent:                                      Monday, November 28, 2022 12:48 PM
To:                                        Bill Becker
Cc:                                        Tatiana Bush; Virginia Yao
Subject:                                   Kissner v. McVoy
Attachments:                               Pacer June 2022.xlsx



Mr. Becker,

We intend to file a Memorandum of Costs in this matter tomorrow, seeking a total of $7.90 in hard costs
associated with Pacer fees, as noted in the attached. Please advise if you will oppose this effort. Thank you,


                        Lindsay A. Goulding
                        Attorney | Shareholder
                        350 University Avenue | Suite 200 | Sacramento, CA 95825
                        T| 916. 929. 1481 x 311 F| 916. 927. 3706
                        www.porterscott.com

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